Pro Se l (Rev. 12t16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT tow 2 2 2013
for the CIEF;{EB§-S£[i;féfc&€eun

Middle District of North Carolina

 

Case No. _\P)(\ \}5 Ll w

(to be filled in by the Ci'erk’s ijice)

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Plaintt_')jr(s)
(Write thefu!l name of each ptaznnjj” who is filing this complaint
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please write "see attached” in the space and attach an additional

page with the)€¢l! list ofnames.)
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Dey‘"endant(s)
(Write the jidt' name ofeack defendant who is being sued if the
names ofai! the defendants cannot fit in the space abave, please
write "see attached ” in the space and attach an additional page
with thefal! list of names. )

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COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named m the complaint Attach additional pages if

 

 

 

 

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E-rnail Address

 

B. The Defendant(s)

Provide the information below for each defendant named 111 the complaint whether the defendant is an
individual, a government agenoy, an organization or a corporation F or an individual defendant,
include the person‘ s job or titlei (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name

Job or Title (tfknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (sznown)

Defendant No. 2

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (iftmown)

Defendant No. 3

Name

10b OT Titie (sznown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (iftmown)

Defendant No. 4

Name

Job or Title (tfknawn)
Street Address

City and County

State and Zip Code
Telephone Number
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II.

Basis for Jurisdiction

F ederal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal coul't: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. ln a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is c asis for federal court jurisdiction? (check allrharappiy)

F ederal question l:l Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a F ederal Quesn'on

List the specific federal statutes, federal treaties, and!or provisions of the United States Constitution that
are at issue in this case.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. lf the plaintiff is an individual

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State Of (name) ;\) \C _ t

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ,

and has its principal place of business in the State of (name)

 

(1§” more than one plaintiff is named in the complaint attach an additional page providing the
same information for each additional plainth

 

2. The Defendant(s)
a. If the defendant is an individual 69 up
The defendant, (name) 52wa gm{§€ Occ -Qc,é;@§b;/[ , is a citizen of
the State of (name) g C/ . Or is a citizen of

 

G‘oreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) ` , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of(name)

 

Or is incorporated under the laws of garage naaan) ,

and has its principal place of business in (name)

 

(lfrnore than one defendant is named in the complaint attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy~the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (exptatn):

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III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted number each claim and

write a aasho§ audi-dll plain statement of each claim 111 a separate paragraph Attach additional pages if needed p id
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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. lnclude
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts lnclude any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages .
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V. Certification and Closing

Under F ederal Rule of Civil Procedure ll, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint ( l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule l 1.

A. For Paru'es Without an Attorney

l agree to provide the Clerk’s Ofi:ice with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Ofiice may result

in the dismissal of my case.

Date ofsigning: fn f qv 510[%

Signature of Plaintiff M @)/\`fdop/M/ M

Printed Name Ofpiaimifr @QHVV-§D mg[%r ii n 1
t
B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

 

 

 

 

 

Telephone Number

 

E-mail Address

 

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